-

Case 8:19-bk-07115-MGW Doc1 Filed 07/29/19 Page 1 of 59

Fill in this information to identify your case:

 

United States Bankruptcy Court for the:

Miad LEdistrict ot FLLOLSOA

Case number (ifknown); SC aap tterr you are filing under:
x Chapter 7
) Chapter 11 ;
(3 Chapter 12 : oe or ee
Q Chapter 13 ae Q) Check if this is an
amended filing

 

 

Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy 1217

The bankruptcy forms use you and Debior 1 to refer to a debtor filing alone. A married coupie may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 7 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

identify Yourself
About Debtor 1: _ About Debtor 2 (Spouse Only in a Joint Case):
1. Your full name .
Write the name that is on your gy) . :
government-issued picture - 4 Tas CE =
identification (for example, Firsiyame First name
your driver's license or fAn
passport). Middlé name . Middle name
Bring your picture LAY
identification to your meeting Last name Last name
with the trustee.
Suffix (Sr., Jr., I, IID Suffix (Sr., Jr, Il, HD
2. All other names you Wy Ky AM
have used in the last 8 First name 7 First name
years .
Include your married or Midgle name Middle name
maiden names. SLLS
Last name Last name
Ky ant
First fame First name
Middle name Middle name
BRAY
Last name Last name
3. Only the last 4 digits of GS
your Social Security XXX KX — ft ane Ss : XXX = XX
number or federal OR OR
Individual Taxpayer
Identification number Qxx - x = Qxx - xm -
(ITIN)

 

 

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 1

 
Case 8:19-bk-07115-MGW Docl1

Debtor 1 9, a CK YAM b RA Y

First Name Middie Nate

 

 

4. Any business names
and Employer
Identification Numbers
(EIN) you have used in
the last 8 years

Include trade names and
doing business as names

Last Name 4

About Debtor 1:

C) | have not used any business names or EINs.

PLbg LLC

Business name

 

 

Business name

Case number (if known)

Filed 07/29/19 Page 2 of 59

 

About Debtor 2 (Spouse Only in a Joint Case):

QI) | have not used any business names or EINs.

 

Business name

 

: Business name

EIN

EIN

 

5. Where you live

400 7 Eneeiew btvO

 

 

 

Number Street

BRADENTON — FL. FYROF
City State ZIP Code
/VANATEE

County

If your mailing address is different from the one
above, fill it in here. Note that the court will send
any notices to you at this mailing address.

 

 

 

If Debtor 2 lives at a different address:

Number Street

 

 

City State ZIP Code

 

County

If Debtor 2’s mailing address is different from
yours, fill it in here. Note that the court will send
any notices to this mailing address.

 

 

 

 

 

Number Street Number Street

P.O. Box P.O. Box

City State ZIP Code City State ZIP Code
6. Why you are choosing Check one: Check one:

this district to file for
bankruptcy

y Over the last 180 days before filing this petition,

| have lived in this district longer than in any
other district.

LJ | have another reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

L) Over the last 180 days before filing this petition,
| have lived in this district longer than in any
other district.

CJ | have another reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

 

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy

page 2

 
 

Case 8:19-bk-07115-MGW Doc1 Filed 07/29/19 Page 3 of 59

 

 

 

Debtor 1 ares CK Can Bea Y Case number (if known)
First Name Middle Nahe Last Name #
Pare 2: Tell the Court About Your Bankruptcy Case
7. The chapter of the Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for individuals Filing
Bankruptcy Code you for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
are choosing to file x Chapter 7

C) Chapter 11
C) Chapter 12
C} Chapter 13

 

8. How you will pay the fee x will pay the entire fee when I file my petition. Please check with the clerk’s office in your
local court for more details about how you may pay. Typically, if you are paying the fee
yourself, you may pay with cash, cashier's check, or money order. If your attorney is
submitting your payment on your behalf, your attorney may pay with a credit card or check |
with a pre-printed address.

L) I need to pay the fee in installments. If you choose this option, sign and attach the
Application for Individuals to Pay The Filing Fee in installments (Official Form 103A).

L) | request that my fee be waived (You may request this option only if you are filing for Chapter 7.
By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
less than 150% of the official poverty line that applies to your family size and you are unable to
pay the fee in installments). If you choose this option, you must fill out the Application to Have the
Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.

 

 

 

 

 

9. Have you filed for ® No
bankruptcy within the
last 8 years? Q) Yes. District When Case number
MM/ DD/YYYY
District When Case number
MM / DD/YYYY
District When Case number
MM/ DD/YYYY
10. Are any bankruptcy Td No
cases pending or being
filed by a spouse who is O) Yes. Debtor Relationship to you
not filing this case with District When Case number, if known,
you, or by a business MM/DD /YYYY
partner, or by an
affiliate?
Debtor Relationship to you
District When Case number, if known,
MM /DD/YYYY
11. Do you rent your BELNo. Go toline 12
i 2 . er :
residence? Ll} Yes. Has your landlord obtained an eviction judgment against you?

CJ No. Go to line 12.

C} Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
part of this bankruptcy petition.

 

 

 

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 3

 

 
Case 8:19-bk-07115-MGW Doc1 Filed 07/29/19 Page 4 of 59

Debtor 1 on, CLE ©, ‘A N Bea Y Case number (i known)

First Name Middle Nawe Last Name J

 

 

Ca Report About Any Businesses You Own as a Sole Proprietor

 

12, Are you a sole proprietor Pino. Go to Part 4.
of any full- or part-time
business? L) Yes. Name and location of business

A sole proprietorship is a
business you operate as an
individual, and is not a
separate legal entity such as

a corporation, partnership, or
LLC. Number Street

 

Name of business, if any

 

If you have more than one
sole proprietorship, use a
separate sheet and attach it
to this petition.

 

 

City State ZIP Code

Check the appropriate box to describe your business:

(J Health Care Business (as defined in 11 U.S.C. § 101(27A))
im Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
Lu) Stockbroker (as defined in 11 U.S.C. § 101(53A))

Q) Commodity Broker (as defined in 11 U.S.C. § 101(6))

CJ None of the above

 

13. Are you filing under If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
Chapter 11 of the can set appropriate deadlines. \f you indicate that you are a small business debtor, you must attach your
Bankruptcy Code and most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if

are you a small business any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

debtor?
oo Xo. | am not filing under Chapter 11.
For a definition of smaif
business debtor, see Q) No. | am filing under Chapter 11, but | am NOT a small business debtor according to the definition in
11 U.S.C. § 101(51D). the Bankruptcy Code.

CL) Yes. | am filing under Chapter 11 and | am a smail business debtor according to the definition in the
Bankruptcy Code.

 

| part a | Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

 

14. Do you own or have any I No
property that poses or is
alleged to pose athreat _ LI Yes. Whats the hazard?
of imminent and
identifiable hazard to
public health or safety?
Or do you own any
property that needs
immediate attention?
For example, do you own
perishable goods, or livestock
that must be fed, or a building
that needs urgent repairs?

 

 

If immediate attention is needed, why is it needed?

 

 

 

Where is the property?
Number Street

 

 

City State ZIP Code

 

 

 

 

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 4
 

 

 

Debtor 1

15.

Case 8:19-bk-07115-MGW Doc1 Filed 07/29/19 Page 5 of 59

FATRICH.

First Name Middle Name

Explain Your Efforts to Receive a Briefing About Credit Counseling

Tell the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about credit
counseling before you file for
bankruptcy. You must
truthfully check one of the
following choices. If you
cannot do so, you are not
eligible to file.

If you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your creditors
can begin collection activities
again.

Bul

Stay

Last Name f

 

You must check one:

yf received a briefing from an approved credit

counseling agency within the 180 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

CJ I received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,

you MUST file a copy of the certificate and payment -

plan, if any.

1 certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

LC) 1am not required to receive a briefing about
credit counseling because of:

Q) Incapacity. | have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

LI] Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |

reasonably tried to do so.

C) Active duty. | am currently on active military

duty in a military combat zone.

lf you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

 

Official Form 101

Case number (i known)

_ About Debtor 2 (Spouse Only ina Joint Case):

 

-— You must check one:

UO) i received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

L} | received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but ! do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

(J | certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

() 1am not required to receive a briefing about
credit counseling because of:

) Incapacity. | have a mental iliness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

| Disability. | My physical disability causes me
to be unable to participate ina
briefing in person, by phone, or
through the internet, even after |
reasonably tried to do so.

L) Active duty. | am currently on active military

duty in a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

 

Voluntary Petition for Individuals Filing for Bankruptcy

page 5

 
 

Case 8:19-bk-07115-MGW Doc1 Filed 07/29/19 Page 6 of 59

Debtor 1 Yen CC ln, Seay Case number (if known),

First Name Middle Nam Last Name

eo Answer These Questions for Reporting Purposes

 

16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
as “incurred by an individual primarily for a personal, family, or household purpose.”

LJ No. Go to line 16b.

Paves. Go to line 17.

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.

L) No. Go to line 16c.
UL) Yes. Go to line 17.

16. What kind of debts do
you have?

16c. State the type of debts you owe that are not consumer debts or business debts.

 

 

17. Are you filing under

Chapter 7? CL] No. lam not filing under Chapter 7. Go to line 18.

Do you estimate that after x Yes. | am filing under Chapter 7. Do you estimate that after any exempt property is excluded and

any exempt property is administrative expenses are paid that funds will be available to distribute to unsecured creditors?
excluded and No

administrative expenses

are paid that funds will be Q) Yes

available for distribution
to unsecured creditors?

 

 

 

18. How many creditors do x 1-49 Q) 1,000-5,000 C) 25,001-50,000
you estimate that you LJ 50-99 L} 5,001-10,000 LJ 50,001-100,000
owe? U) 100-199 LI 10,001-25,000 LJ More than 100,000
LJ 200-999
19. How much do you LI $0-$50,000 }¥'s1,000,001-810 million CL} $500,000,001-$1 billion
estimate your assets to LJ $50,001-$100,000 L) $10,000,001-$50 million CQ) $1,000,000,001-$10 billion
be worth? LJ $100,001-$500,000 LJ $50,000,001-$100 million L) $10,000,000,001-$50 billion
LJ $500,001-$1 million LI $100,000,001-$500 million L) More than $50 billion
20. How much do you LJ $0-$50,000 JX s1,000,001-$10 million LJ $500,000,001-$1 billion
estimate your liabilities LJ $50,001-$100,000 CJ $10,000,001-$50 million C) $1,000,000,001-$10 billion
to be? Q $100,001-$500,000 QO $50,000,001-$100 million QO $10,000,000,001-$50 billion
LY $500,001-$1 million L) $100,000,001-$500 million CJ More than $50 billion

Sign Below
| have examined this petition, and | declare under penalty of perjury that the information provided is true and
For you correct.

If | have chosen to file under Chapter 7, | am aware that | may proceed, if eligible, under Chapter 7, 11,12, or 13
of title 11, United States Code. | understand the relief available under each chapter, and | choose to proceed
under Chapter 7.

If no attorney represents me and | did not pay or agree to pay someone who is not an attorney to help me fill out
this document, | have obtained and read the notice required by 11 U.S.C. § 342(b)

1 request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

| understand making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

x & 41, 1519, and 3571.
y bey x

Signature of rotor 1 Signature of Debtor 2

 

Executed on 4 £0/ 9 Executed on
MM DD “? MM / DD /YYYY

 

 

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 6

 

 
 

Case 8:19-bk-07115-MGW Doc1_ Filed 07/29/19 Page 7 of 59

Debtor 1 Voas CL hs, lia NM Bea ¥ Case number (if known)

 

 

First Name Middle Nayfe Last Name /

 

 

 

 

 

 

 

 

 

F tt if I, the attorney for the debtor(s) named in this petition, declare that | have informed the debtor(s) about eligibility
or your a dover Wyou are 1, proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one available under each chapter for which the person is eligible. | also certify that | have delivered to the debtor(s)
the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that | have no
If you are not represented knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page. x
Date

Signature of Attorney for Debtor MM / DD /YYYY

Printed name

Firm name

Number — Street

City State ZIP Code

Contact phone Email address

Bar number State

 

 

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 7

 

 

 
Case 8:19-bk-07115-MGW Doc1 Filed 07/29/19 Page 8 of 59

Debtor 1 Youw Ch C hy YAN Keon x Case number (it known)

 

First Name Middle Name Last Name

 

 

 

 

For you if you are filing this The law allows you, as an individual, to represent yourself in bankruptcy court, but you
bankruptcy without an should understand that many people find it extremely difficult to represent
attorney themselves successfully. Because bankruptcy has long-term financial and legal

consequences, you are strongly urged to hire a qualified attorney.
If you are represented by ;
an attorney, you do not To be successful, you must correctly file and handle your bankruptcy case. The rules are very

need to file this page. technical, and a mistake or inaction may affect your rights. For example, your case may be
dismissed because you did not file a required document, pay a fee on time, attend a meeting or
hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
firm if your case is selected for audit. If that happens, you could lose your right to file another
case, or you may lose protections, including the benefit of the automatic stay.

You must list all your property and debts in the schedules that you are required to file with the
court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
property or properly claim it as exempt, you may not be able to keep the property. The judge can
also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
Bankruptcy fraud Is a serious crime; you could be fined and imprisoned.

If you decide to file without an attorney, the court expects you to follow the rules as if you had
hired an attorney. The court will not treat you differently because you are filing for yourself. To be
successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
be familiar with any state exemption laws that apply.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
consequences?

UL] No

XxX Yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incomplete, you could be fined or imprisoned?

L] No

palves

Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
No

C] Yes. Name of Person
Attach Bankruptcy Petition Preparer’s Notice, Declaration, and Signature (Official Form 119).

 

By signing here, | acknowledge that | understand the risks involved in filing without an attorney. |
have read and understood this notice, and | am aware that filing a bankruptcy case without an
attorney may cause me to lose my rights or property if | do not properly handle the case.

«9 ley Seay x

 

 

Signature ot%btor 1 Signature of Debtor 2
Date Z G / G Date
M YYYY MM/ DD /YYYY
Contact phone GY/ * L‘ 1. Le * Go oO 7 Contact phone

 

 

Cell phone G4 / -$£i2 ~ 9007 Cell phone

 

 

Email address Viki ANE LayElsn. Con Email address

 

 

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 8
 

Case 8:19-bk-07115-MGW Doc1 Filed 07/29/19 Page 9 of 59

Fill in this information to identify your case:

Debtor 1 ATR CLE Bant &: LAS

First Name Miflile Name Last Nar”

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: 1 10OLE district of F. LOR A

Case number () Check if this is an
{if known) amended filing

 

 

 

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information 12/15

 

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

Summarize Your Assets

1. Schedule A/B: Property (Official Form 106A/B)
1a. Copy line 55, Total real estate, from Schedule A/Boo.......cceccccceccceecccesseseceseeeeseseecesenececansecaeseiecsesseesaeseeatsecseatieestserasseaeees

1b. Copy line 62, Total personal property, from Schedule A/B. occ cccccccccescetseccsscscesscacseececsansesecsecaecassaesasssssassessesseecneeateaeeas

 

1c. Copy line 63, Total of all property on Schedule A/B oo... eccccecccceccceececcees cee sessessessneeceseseracsesecatsessesenseresesscssseesssesscseneesssess

Summarize Your Liabilities

 

 

 

 

Your liabilities
Amount you owe |
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D) 33 / g
2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D............ $ Ft 92S |
3. Schedule E/F: Creditors Who Have Unsecured Claims (Ofticial Form 106E/F) O
3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F........cc ccc cceccectecseesserseeseeaes $
. ims f Part 2 iori j ine 6j of Schedule E/F o.oo... ccc cesses
3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule +¢ Yas ; g s 7

 

 

Your total liabilities sb, 6 YS, 295

 

 

 

Summarize Your income and Expenses

4. Schedule |: Your income (Official Form 1061) O
Copy your combined monthly income from line 12 of Schedule Io... cece cece ccecccenseceeeseessesseessceaseeccaeeaeesssssteseseetesseatens $

5. Schedule J: Your Expenses (Official Form 106J) > YH 06
Copy your monthly expenses from line 22¢ Of SCHECUIC So... .cccccccccccccceecscesceccsesscesscessesceseeessenseenseeassseseseseeesesseaseenteeseeeseee $ 6; v

 

 

 

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 1 of 2

 
 

Case 8:19-bk-07115-MGW Doc1 Filed 07/29/19 Page 10 of 59

Debtor 1 Vorer Cre Ye nl ben Y Case number (if known)
First Name Middle Name Last Namé

 

 

| Part a: | Answer These Questions for Administrative and Statistical Records

 

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

Saves

LJ No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

 

7. What kind of debt do you have?

Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

LJ Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
this form to the court with your other schedules.

 

 

Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.

 

8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official / 0d
$ § 2 , , ~OC¢

v

 

 

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

 

.

 

From Part 4 on Schedule E/F, cop’

 

9a. Domestic support obligations (Copy line 6a.) $ O
9b. Taxes and certain other debts you owe the government. (Copy line 6b.) $ ©
9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.) $ 0
9d. Student loans. (Copy line 6f.) $ O
Ye. Obligations arising out of a separation agreement or divorce that you did not report as $ O
priority claims. (Copy line 6g.)
9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) +$ ( ”)
9g. Total. Add lines 9a through 9f. $ O

 

 

 

 

 

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information

 

page 2 of 2

 

 
Case 8:19-bk-07115-MGW Doc1 Filed 07/29/19 Page 11 of 59

Fill in this information to identify your case and this filing:

Ban

Middle Name

GRAY

Last Nene

Dari Ric

First Name

Debtor 1

Debtor 2
(Spouse, if filing) First Name

 

Middle Name Last Name

United States Bankruptcy Court for the: 119 DLE istrict of ftokporr

Case number

 

L) Check if this is an
amended filing

 

 

Official Form 106A/B
Schedule A/B: Property

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. if two married people are filing together, both are equally
responsible for supplying correct information. lf more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

 

12/15

 

Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

LI) No. Go to Part 2.
( Yes. Where is the property?
What is the property? Check all that apply.

, YOo7 YOvERyiEw bi Bsa family home

Duplex or multi-unit buildin
Street address, if available, or other description P . 9
L} Condominium or cooperative

L) Manufactured or mobile home

 

 

 

 

CJ Debtor 1 and Debtor 2 only
x At least one of the debtors and another

If you own or have more than one, list here:
What is the property? Check all that apply.

12 HG 71ST Sr pf a

Street address, if available, or other déscription

Single-family home

Duplex or multi-unit building
LY Condominium or cooperative
CJ Manufactured or mobile home

 

 

LJ Land
- LJ Investment roperty
Bpabe Ton FL F007 A \vesinents
City State ZIP Code Oth
ther

Q) Land
¢ LD Investment property

Bun DENTON FL S4-205 L) Timeshare
City State ZIP Code

Q) other

Who has an interest in the property? Check one.
MANA FEE C) Debtor 1 only
County LI Debtor 2 only

Other information you wish to add about this item, such as local
property identification number: Meme Tend PAR EAT,

 

C) Debtor 1 only

C3 Debtor 2 only

CJ Debtor 1 and Debtor 2 only

>: least one of the debtors and another

NVANATEE

County

property identification number:

Who has an interest in the property? Check one.

Other information you wish to add about this item, such as local

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Sohedule D.
Creditors Who Have Claims Secured by Prone.

Current value of the Current value of the
entire property? portion you own?

s £00,800 + 400, 000

Describe the nature of your ownership
interest (such as fee simple, tenancy by
the entireties, or a life estate), if known.

FEE SimPt€

Check if this is community property
(see instructions)

 

Do not deduct Secured clalins or ae Put
the amount of any secured claims on Schedule D:
Credilars Who Have Claims Secured py dads

   

 

  

Current value of the Current value of the
entire property? portion you own?

s 340,000 5 170,000

Describe the nature of your ownership
interest (such as fee simple, tenancy by
the entireties, or a life estate), if known.

FEE SimPee

JXeneck if this is community property
(see instructions)

 

 

 

 

Official Form 106A/B Schedule A/B: Property

page 1

 
Case :29-bk-07
Debtor 1 Yrpéi Open

First Name © sal Nafe

LAS
Last Name ff

 

1.3. 36/0 SYZH ST id

 

Street address, if available, or other description
Unie 8-24
Dean EMTON fz.

City State

MANATEE

County

What is the property? Check all that apply.
Ql] Single-family home
Q) Duplex or multi-unit building
ps Condominium or cooperative
(J Manufactured or mobile home
Q) Lana

JS 4G Q investment property

ZIP Code

LJ Timeshare
LJ other

 

15-MGW Doc1 Filed 07/29/19 Page 12 of 59

Case number (if known)

Current value of the Current value of the

entire property?

¢_430, 900

portion you own?

¢ 4, 300° 20

 

 

Describe the nature of your ownership
interest (such as fee simple, tenancy by
the entireties, or a life estate), if known.

Who has an interest in the property? Check one. OWN 4, ac

L) Debtor 1 only

LI} Debtor 2 only

() Debtor 1 and Debtor 2 only

Rat least one of the debtors and another

Q) Check if this is community property
(see instructions)

Other information you wish to add about this item, such as local

property identification number:

 

2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
you have attached for Part 1. Write that number here. ................:ccceseececccesueesccssceeeecesececaausceceeseceueuauseacerecunaneaens >

 

$571,300

 

 

 

Describe Your Vehicles

Hi vo

UL) Yes

3.1. Make:
Model:
Year:
Approximate mileage:

Other information:

 

 

 

 

Make:
Model:

Year:

3.2.

Approximate mileage:

Other information:

 

 

 

 

 

If you own or have more than one, describe here:

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycies

Who has an interest in the property? Check one.

L) Debtor 1 only

L} Debtor 2 only

(CJ Debtor 1 and Debtor 2 only

CJ At least one of the debtors and another

(2 Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

CQ) Debtor 1 only

UL) Debtor 2 only

(J Debtor 1 and Debtor 2 only

LI At least one of the debtors and another

C) Check if this is community property (see
instructions)

 

oe Who ae oe

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

Do not dedlict secured claims or exemptions. Put
the amount of any secured claims on Schedule 0
Creditors ho ie ve Claims Secured by ey

   

Current value of the Current value of the

entire property?

s s__O

portion you own?

 

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
‘Secured by Pn ; my

   
 

 

Current value of the Current value of the the

entire property? portion you own?

0

5
&

 

 
 

 

 

 

Official Form 106A/B

Schedule A/B: Property

 

page 2
Debtor 4 Cre E38 we Léay

 

115-MGW Doci1 Filed 07/29/19 Page 13 of 59

Case number (if known)

 

 

 

 

First Name Middle LAN
3.3. Make: Who has an interest in the property? Check one. _o not deduct secured claims or exemptions. Put _
O) Debtor 1 only the amount of any aeeito: ‘claims on Schedule D: :
Model: é :
; UL] Debtor 2 only ; .
Year: Current value of the Current value of the

Approximate mileage:

Other information:

 

 

 

 

3.4, Make:
Model:
Year:
Approximate mileage:

Other information:

 

 

 

 

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

Ph no

C Yes

4.1. Make:
Model:
Year:

Other information:

 

 

 

 

If you own or have more than one, list here:

4.2. Make:
Model:
Year:

Other information:

 

 

 

 

5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
you have attached for Part 2. Write that number here

L) Debtor 1 and Debtor 2 only
LJ At least one of the debtors and another

L) Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

C] Debtor 1 only

L) Debtor 2 only

C) Debtor 1 and Debtor 2 only

CJ At ieast one of the debtors and another

Cd Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

L} Debtor 1 only

LI Debtor 2 only

Q) Debtor 1 and Debtor 2 only

(J At least one of the debtors and another

C) Check If this is community property (see
instructions)

Who has an interest in the property? Check one.

C) Debtor 1 only

(3 Debtor 2 only

C) Debtor 1 and Debtor 2 only

(J At least one of the debtors and another

L) Check if this is community property (see
instructions)

pedios Wane Have Rays Seoured by Properyy

_ Do not deduct secured claims or exemptions. Put _
_. the amount of any secured claims on Schedule D:
or Who Have Claims aeind by Property, |

Current value ofthe Current value of the

Surbeincencense oo eet

entire property? portion you own?

Do not deduct secured claims or exemptions. Put
ihe amount of any secured claims on Schedule D:

 

  

PAAR set

 

Current value of the Current value of the
entire property? portion you own?

 

.

 

eis 2 ee

entire property? portion you own?

$ $ O

 

 

  

Do not deduct secured claims or exemptio fue
the amount of any secured claims on Schedule D:
Crediiors Wha-Ha e Claire Secured by. Property.
Current vaiue of the Current value of the
entire property? portion you own?

 

Official Form 106A/B

Schedule A/B: Property

 

page 3
1EfE YAN LA Case number (irknown)

Middle Nama Last Name /

Wp Case 872-bk-O7A%5-MGW Doc1 Filed 07/29/19 Page 14 of 59
Debtor 1

   
  

Describe Your Personal and Household Items

  

Current value of the

 

r equitable interest in any of the following items?

 

 

 

 

 

 

 

 

 

 

 

portion you own? '
Do not deduct secured claims
Q or exemptions. :
6. Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware
LJ No
Sell Yes. Describe......... FOPKI ME Sve NITORE, $ 5, 000 - 9°
7. Electronics
Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
collections; electronic devices including cell phones, cameras, media players, games
CI No
’ a0
2A Yes. Describe.......... TV. is $ f, 500°
8. Collectibles of value
Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
; stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
RA No
C] Yes. Describe.......... $ o

 

 

 

9. Equipment for sports and hobbies

Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
and kayaks; carpentry tools; musical instruments

Bj No 0

 

 

 

 

 

 

 

 

 

 

 

 

 

L) Yes. Describe.......... $
10. Firearms
Examples: Pistols, rifles, shotguns, ammunition, and related equipment
L) No nm Oe
XI Yes. Describe........ _ g 250°
A P *S$7 OL rs
11. Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
CL) No
Jayes. Desoribe.......... CLOTHINE g ZO000- so
12. Jewelry
Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
gold, silver
CL) No
-O8
Byres. Describe.......... WEadDINeE Rine g 200°°° |

 

 

 

13. Non-farm animals
Examples: Dogs, cats, birds, horses
XQ no
oO 0

Yes. Describe.......... $

 

 

 

 

14. Any other personal and household items you did not already list, including any health aids you did not list

4
Yes. Give specific 0

 

 

 

 

information. ............. $
15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached $ g 9 So- ed
for Part 3. Write that mumber Mere o.oo cece cseeessesesssessasenseesissssaseceusescescesussicsnssssssassuesanessesvesevesussavsnessatsanasetanessesseesa >

 

 

 

 

 

 

Official Form 106A/B Schedule A/B: Property page 4
 

   
 
  

Debtor 1 Case number (if known)

portion you own?

or exemptions.

16.Cash

17. Deposits of money
Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
and other similar institutions. If you have multiple accounts with the same institution, list each.

CO Yes occ Institution name:

Q)

: Current value of the

4
'
Do not deduct secured claims.

 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

17.1, Checking account: $
17.2. Checking account: $
17.3. Savings account: $
17.4. Savings account: $
17.5. Certificates of deposit: $
17.6. Other financial account: $
17.7. Other financial account: $
17.8. Other financial account: $
17.9. Other financial account: $
18. Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts
4 No
CY Yes. Institution or issuer name:
19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
an LLC, partnership, and joint venture
LJ No Name of entity: % of ownership:
Yes. Give specific LBB LLC 4% % 3 1,300°°°
information about 0% — —
them. ° %
0% %

 

 

 

Official Form 106A/B Schedule A/B: Property page 5
 

  

Debtor 1 Case number (if known)

 
 

First Name

 

 

20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

”

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

No
CL] Yes. Give specific Issuer name:
information about O
theM.... ee $
$
$
21. Retirement or pension accounts
Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
{no
LI] Yes. List each
account separately. Type of account: Institution name:
snr oan s__0
401(k) or similar plan:
Pension plan: $
IRA: $
Retirement account: $
Keogh: $
Additional account: $
Additional! account: $
22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
companies, or others
my No
7-1 Institution name or individual:
Electric: $ QO
Gas: $
Heating oil: $
Security deposit on rental unit: $
Prepaid rent: $
Telephone: $
Water: $
Rented furniture: $
Other: $
23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
XQ No
i  -\ e Issuer name and description: &)
$
$

 

 

 

Official Form 106A/B Schedule A/B: Property page 6

 
yy CgserGA9-bk- 5-MGW Doci1 Filed 07/29/19 Page 17 of 59
Atkice__ Ky,

IN LA iva Case number (if known)
First Name Middle Nafhe Last Name S

Debtor 1

 

 

:
:
:

 

 

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

 

 

 

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
exercisable for your benefit

no

L) Yes. Give specific O
information about them... $

 

 

 

 

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

Fino
C] Yes. Give specific OC)

information about them... $

 

 

 

 

27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

$b.No

 

 

 

 

   

 

Cl Yes. Give specific QO
information about them.... $
‘Money or property owed to you? Current value of the
< : portion you own?
Do nol deduct secured
claims or exemptions.

    

| 28. Tax refunds owed to you

I No

LI) Yes. Give specific information

Federal: - OO
about them, including whether eoor $

you already filed the returns State:
and the tax years. oc.

 

Local:

 

 

 

29. Family support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

Pil No

QO) Yes. Give specific information.............. oO
Alimony:

 

Maintenance:
Support:

Divorce settlement:

Rr FF HF

Property settlement:

 

 

 

30. Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
Social Security benefits; unpaid loans you made to someone else
Pano

L) Yes. Give specific information............... C)

 

 

 

 

 

 

 

Official Form 106A/B Schedule A/B: Property page 7
_ 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached

 

 

Case 9-Dk-07 LS MGW Doc1 Filed 07/29/19 Page 18 of 59
Debtor 1 LH C, = ( Af - bby Case number (if known)

31. Interests in Insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter’s insurance

LJ No

Pires. Name the insurance company
of each policy and list its value. ...

 

Company name: Beneficiary: Surrender or refund value:

MASS IN ITVAL EL: 2A BETH bety $ O
$

 

 

32. Any interest in property that is due you from someone who has died

If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
property because someone has died.

No
LI) Yes. Give specific information.............. CO

 

 

 

 

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

No
oY Yes. Describe each claim. ....0.0.000000.0.. O

 

 

 

 

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
to set off claims

Xt No

C] Yes. Describe each claim... O

 

 

 

 

35. Any financial assets you did not already list

7K No

L) Yes. Give specific information............ $ QO

 

 

 

 

.00
for Part 4, Write that number here 22.0... occ cc ee eessssosssnnnnssssssusvunnuevvvesssvssuensuveusaresecsnsssuunustesssssssuenveseeseregstsnssameenseeen > s_ 1, G00°°° _

 

 

 

Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 

37.Do you own or have any legal or equitable interest in any business-related property?
C2 No. Go to Part 6.
SW Yes. Go to line 38.

 

 

38. Accounts receivable or commissions you already earned

XI No
CJ Yes. Describe........ , eC

39. Office equipment, furnishings, and supplies
Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

Be no 0

L) Yes. Describe....... s

 

 

 

 

 

 

 

 

Official Form 106A/B Schedule A/B: Property page 8

 

 
yo Cas AO DK 0813 MGW Doc1 Filed 07/29/19 Page 19 of 59
A A LAY

og
ZRICK Case number (i known)
First Name Middle Nafne Last Name J

Debtor 4

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

No
LI] Yes. Describe....... s ©

 

 

 

41. Inventory

 

No
CJ Yes. Describe....... S ©

 

 

 

No
Yes. Describe.......

42. ro in partnerships or joint ventures

 

 

Name of entity: % of ownership: 0
% $
% $
% $

 

43. Customer lists, mailing lists, or other compilations

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

No
U) Yes. Do your lists Include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
QC) No
L) Yes. Describe........
sO
44. by business-related property you did not already list
No
L} Yes. Give specific $ O
information .........
$
$
$
$
$
45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached $ (
for Part 5. Write that mumber Were ooo eee cesssesssssseesssssessssssecsseecssssvesesnunseessessusanesssssesessavecesunsesssiesasssacssesevessasessseeses >
Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
If you own or have an interest in farmland, list it in Part 1.
46.Do you own or have any egal or equitable interest in any farm- or commercial fishing-related property?
No. Go to Part 7.

LI} Yes. Go to line 47. -
Current value of the
portion you own?
Do not deduct secured claims __
or exemptions. :

47. Farm animals
Examples: Livestock, poultry, farm-raised fish

LJ No

 

 

 

 

 

 

 

Official Form 106A/B Schedule A/B: Property page 9

 
oy) Case apr 5Dk-O7 5-MGW Doci1 Filed 07/29/19 Page 20 of 59
ATRICK. Bee ls LAY Case number (if known)

First Name Middle Nam Last Name /

48. Crops—either growing or harvested

RENo

L) Yes. Give specific i)
information. ............ $

Debtor 1

 

 

 

 

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

 

 

 

 

dno

 

 

 

 

51. Any farm- and commercial fishing-related property you did not already list

 

 

 

 

lo
CY Yes. Give specific QO)
information. ............ $
52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached $ (
for Part 6. Write that number here oo... ccc cessssesseseesnssesescescesseesesinesesnsssnesssiettssnesesuersssersenevasaseeseeseetssnitssanecisuetesensersesen >

 

 

 

Describe All Property You Own or Have an Interest in That You Did Not List Above

 

53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership

KL No > oO

LJ] Yes. Give specific
information. ............

 

 

 

 

 

54. Add the dollar value of all of your entries from Part 7. Write that number here oo... ccc ee reeteesneseesees > $s O

 

 

 

List the Totals of Each Part of this Form

 

 

 

 

 

 

 

 

55. Part 1: Total real estate, Ve 2c ce cece cesses nennnesseeeseenecensonssseeseevumnvssssessetiuiasssessnstiitunsnsaasnarseeeenimancaneeesectesasanseeeeees > | s_ 5 7/ 300
56. Part 2: Total vehicles, line 5 $ O | a
57. Part 3: Total personal and household items, fine 15 $ z, Gs0'°?

58. Part 4: Total financial assets, line 36 $ by 300 :0°°

59. Part 5: Total business-related property, line 45 $ 2 oe

60. Part 6: Total farm- and fishing-related property, line 52 $ O

61. Part 7: Total other property not listed, line 54 +$ O

62. Total personal property. Add lines 56 through 61. ................. $ £0 d Z50 Copy personal property total > +4 § / 0, 25 o

63. Total of all property on Schedule A/B. Add line 55 + line 62......ccscccccssscsssssseussseessssssssssssssssessesvsssinssnsnsssaecee 3 SF/, S50

 

 

 

 

Official Form 106A/B Schedule A/B: Property page 10
 

Case 8:19-bk-07115-MGW Doc1 Filed 07/29/19 Page 21 of 59

Fill in this information to identify your case:

Debtor 1 P, BT Rt CL R, YAN S2a Y

First Name Middle Name L&st Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: PUOOLE District of ftoLsott

Case number L) Check if this is an
(If known) ape
amended filing

 

 

Official Form 106C

 

Schedule C: The Property You Claim as Exempt 04/19

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.

Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

Identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

you are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
C) You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

 
     
   

Brief description of the property and line on Current value of the
_ Schedule A/B that lists this property _ portion you o

Copy the value from

Amount of the exemption you claim. Specific laws that allow exemption

 

Check only one box for each exemption. :

  

 

 

 

 

 

 

8 . | Schedule AB
description: homestenn KE WHE 400,000 jas ¥06, 000
Line from , LL) 100% of fair market value, up to
Schedule ve: 421 any applicable statutory limit
Brief
description: ——-—_______—.__ & Os
Line from LJ 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: ————_—_________—-_ & L¢
Line from C 100% of tair market value, up to
Schedule A/B: ___ any applicable statutory limit

 

 

 

3. Are you claiming a homestead exemption of more than $170,350?
(Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

CL) No
bil Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

f.. @ No
CL) Yes

 

Official Form 106C Schedule C: The Property You Claim as Exempt page 1 of 2

 
 

Case 8A449- AN) ‘Ben. MGW Doci1 Filed 07/29/19 Page 22 of 59
Debtor 1 Z ATLIC(C — - Gea, vy Case number (if known)

 

Additional Page

 

Brief description of the property and line Current value

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Official Form 106C

: € : Amount of the exemption you claim . .. Specific laws thal allow exemption
“on Schedule 4/@ that \ists this property portion you own
Copy the value from Check only one box for each exemption
SeneduieAB
Brief
description: $ Os
Line from C) 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: $ Os
Line from QC) 100% of fair market value, up to
Schedule A/B:. ———- any applicable statutory limit eT
Brief
description: $ Os
Line from L] 100% of fair market value, up to
Schedule A/B: — any applicable statutory limit
Brief
description: $ Lg
Line from L) 100% of fair market value, up to
Schedule A/B: st” any applicable statutory limit
Brief
description: $ Os
Line from () 100% of fair market value, up to
Schedule A/B:_ ———— any applicable statutory limit
Brief
description: $ Os
Line from LI} 100% of fair market value, up to
Schedule A/B: — any applicable statutory limit
Briet
description: $ Ug
Line from CD 100% of fair market value, up to
ScheduleA/B: any applicable statutory limit
Brief
description: $ Lig
Line from L) 100% of fair market value, up to
Schedule A/B: ———— any applicable statutory limit
Brief
description: $ Os
Line from LI 100% of fair market value, up to
Schedule A/B: ~~ any applicable statutory limit _-
Brief
description: $ Os
Line from LI 100% of fair market value, up to
Schedule A/B: any applicable statutory limit a _
Brief
description: $ Os
Line from L) 100% of fair market value, up to
Schedule A/B:_ ———— any applicable statutory limit
Brief
description: $ Lig
Line from C3 100% of fair market value, up to
Schedule A/B: ~~ any applicable statutory limit ee

 

Schedule C: The Property You Claim as Exempt

page2 of #
Case 8:19-bk-07115-MGW Doc1 Filed 07/29/19 Page 23 of 59

Fill in this information to identify your case:

AN BLAY

 

 

 

Debtor 4 AT RICH Y

First Name Midfle Name LastWame
Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the/? af CE _ District of FLO Lid a

Case number . .
(i known) () Check if this is an

amended filing

 

 

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property 12/115

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known). —

 

 

1. Do any creditors have claims secured by your property?
L) No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
dX Yes. Fill in all of the information below.

  
 
  
   
 
 

aan List All Secured Claims

 
 
 
 
 

 

# all secured claims. If a creditor has more than one secured claim, list the creditor separatel
for each claim. If more than one creditor has a particular claim, list the other creditors in Pan 2.
As much as pone list the claims in alphabetical order according to the creditor's name.

 

ES ae ns
[ 2.4] baa OF le OCRE KS Describe the property that secures the claim: $ / : 900 $ $00 ,000 gO

Creditor's Name

6ol W. CommeewA. ST. Peimaky hes DENCE, Homes TERD

Number Street

 

 

 

 

 

As of the date you file, the claim is: Check all that apply.
QO Contingent

OTALE. AR qW2 949 XI Unliquidated

 

 

City State ZIP Code Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
2 Debtor 1 only An agreement you made (such as mortgage or secured
OQ) Debtor 2 only car loan)
QJ Debtor 4 and Debtor 2 only O Statutory lien (such as tax lien, mechanic's lien)
x At least one of the debtors and another QJ Judgment lien from a lawsuit

Q) other (including a right to offset)
Check if this claim relates to a

community debt /
Date debt was incurred S 4 O4 / Last 4 digits of account number 2 7d Ss oO

| 2.2) Si Up [OVUS B AA (he. Describe the property that secures the claim: $ /3 Z, 200 $ %0, 200 + O
Credifor's Name

m NCE, Home D
if Bay Avie Phimney 2E5 EN j STCA
Number Street HE d 0 ¢ : Z AAN

As of the date you file, the claim is: Check all that apply.
O Contingent

Cocumbus GCA 3/Gof PRuniquidates

 

 

 

 

 

 

 

City State ZIP Code U Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
Debtor 1 only An agreement you made (such as mortgage or secured
Q Debtor 2 only car loan)
Debtor 1 and Debtor 2 only QO) Siatutory lien (such as tax lien, mechanic’s lien)
LY’ At least one of the debtors and another Q) Judgment lien from a lawsuit

(J other (including a right to offset)

{) Check if this claim relates to a
community debt

Date debt was Incurred fy
alue of your entries in Column A on this page. Write that number here

 
   
   

 
  

 

Last 4 digits of account number /

 

 

 

Official Form 106D Schedule D: Creditors Who Have Claims Secured by Property page 1 of Zz

 
Case hee Doc1 Filed 07/29/19 Page 24 of 59
Debtor 1 Py Li Cle YAN kA f Case number (if known).

First Name Middle Nafne Last Namaf

 

Additional Page

After listing any entries on this page, number them beginning with 2.3, followed
by 2.4, and so forth.

' Lik Coe IZ ER Describe the property that secures the claim: $ ta 75, , G2 g $ BHO, 000 $ oO

Creéditor's Name

$950 Cypeess wWhrees Ale, SECONDARY FeePeRTy

lumber Street

 

 

 

 

 

 

 

 

As of the date you file, the claim is: Check all that apply.

L % SO/ (Q Contingent
City State ZIP Code FA unliquidated
x Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
Q) Debtor 1 only Palan agreement you made (such as mortgage or secured
OC) Debtor 2 only car loan)
O) Debtor + and Debtor 2 only (J Statutory lien (such as tax lien, mechanic's fien)
SKA least one of the debtors and another (1 Judgment lien from a lawsuit

LU) Other (including a right to offset)
DK Check if this claim relates to a

community debt

Date debt was incurred Zo ié Last 4 digits of account number qT 9g S 8

 

L_| Describe the property that secures the claim: $ $ $

Creditor's Name

 

 

 

 

 

Number Street

 

As of the date you file, the claim is: Check all that apply.
Q) Contingent

Q unliquidated

City State ZIP Code O Disputed

Who owes the debt? Check one.

 

 

Nature of lien. Check all that apply.

 

 

1 Debtor 1 only ) an agreement you made (such as mortgage or secured
QC) Debtor 2 only car loan)
QJ Debtor 1 and Debtor 2 only CJ statutory lien (such as tax lien, mechanic's tien)
C1 Atleast one of the debtors and another Q Judgment lien from a lawsuit
OC Check if this claim relates to a O} other (including a right to offset)
community debt
Datedebtwasincurred = Last 4 digits of accountnumber_
| Describe the property that secures the claim: $ $ $

 

Creditors Name

 

 

 

 

 

 

 

Number Street
As of the date you file, the claim is: Check all that apply.
Q Contingent
City State ZIP Code C] unliquidated
QQ) Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
Q) Debtor 4 only () An agreement you made (such as mortgage or secured
L] Debtor 2 only car loan)
{J Debtor 1 and Debtor 2 only C) Statutory lien (such as tax lien, mechanic's tien)
{J At least one of the debtors and another C1 Judgment lien from a lawsuit
Q) other (including a right to offset)
L] Check if this claim relates to a

community debt

Date debt was incurred Last 4 aigtts ¢ of account number ___

 
    

i this is the last page of your form, add the dollar value totals from all pages.
Write that number here:

 

 

 

 

 

Official Form 106D Additional Page of Schedule D: Creditors Who Have Claims Secured by Property page ZL of Zk

 
Page 25 of 59

Debtor 1 / f & LA VY

Middié Name Last Nase

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: #7 OLE District of ftOk 404

 

(J) Check if this is an

iaow amended filing

 

 

 

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims 1245

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
A/B: Property (Otticial Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

 

 

List All of Your PRIORITY Unsecured Claims

 

1. Do any creditors have priority unsecured claims against you?
No. Go to Part 2.

CI Yes.
_2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
each claim | identity what type of claim itis. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and

_nonpriority amounts, AS much as possible, list the claims in alphabetical order according to the creditor's name. If you have more than two priority
__ Unsecured claims, fill out the Continuation Page of Part 1. if more than one creditor holds a particular claim, list the other creditors in Part 3.

_ (For an explanation of each type of claim: see the instructions for this form in the instruction booklet.)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

2.1
Last4digitsofaccountnumber ss = (tC $. §.
Priority Creditor’s Name
When was the debt incurred?
Number Street
As of the date you file, the claim Is: Check all that apply.
City State ZIP Code U1 Contingent
> (Q Untiquidated
Who incurred the debt? Check one. OQ) bisputed
CJ Debtor 1 only
Q) Debtor 2 only Type of PRIORITY unsecured claim:
5 Debtor 1 and Debtor 2 only LJ Domestic support obligations
At least one of the debtors and another U) Taxes and certain other debts you owe the government
U1 Check if this claim is for a community debt Q Claims for death or personal injury while you were
Is the claim subject to offset? intoxicated
C] No Cl] other. Specify
C) Yes
2.2 | Last 4 digits ofaccountnumber $ $ $

 

Priority Creditor’s Name
When was the debt incurred?

 

 

 

Number Street
As of the date you file, the claim is: Check all that apply.
Q) Contingent

City State ‘ZIP Code Q) Untiquidated

Who incurred the debt? Check one. Q) Disputed

Q) Debtor 1 only

Type of PRIORITY unsecured claim:
C) Debtor 2 only

 

 

©) Debtor 1 and Debtor 2 only CL) Domestic support obligations

(At least one of the debtors and another QJ Taxes and certain other debts you owe the government
Q) Check if this claim is for a community debt Q aims for death oF personal injury while you were

Is the claim subject to offset? LJ Other. Specify

QO No

UL) Yes

 

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page 1 of 7

 
Debtor 1 Faris
First Name

Middle Name *

Part 1:

 
 

fter listing ny entries on this page, number them beginning with 2.3, followed by 2.4, and so forth. -

 

Priority Creditor’s Name

 

Number Street

 

 

City State ZIP Code

Who incurred the debt? Check one.

CQ) Debtor 4 only

Q) Debtor 2 only

() Debtor 1 and Debtor 2 only

CL) At least one of the debtors and another

C) Check if this claim is for a community debt

Is the claim subject to offset?

Ga py OY a5, VOW Doc1 Filed 07/29/49., ,Page 26 of 59
Last Name /

Your PRIORITY Unsecured Claims — Continuation Page

Last 4 digits of account number

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

Q) Contingent
QO) unliquidated
a Disputed

Type of PRIORITY unsecured claim:

Domestic support obligations
Taxes and certain other debts you owe the government

Claims for death or personal injury while you were
intoxicated

Other. Specify

O OOO

 

 

 

 

 

 

Who incurred the debt? Check one.

C) Debtor 1 only

LY Debtor 2 only

CJ Debtor 1 and Debtor 2 only

CJ At least one of the debtors and another

C) Check if this claim is for a community debt

Is the claim subject to offset?

C) No
CI yes

LI No
C) Yes
Last 4 digits of accountnumber
Priority Creditor's Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply.
QO Contingent
City State ZIP Code Q) Unliquidated

Q Disputed

Type of PRIORITY unsecured claim:

Domestic support obligations
Taxes and certain other debts you owe the government

Claims for death or personal injury while you were
intoxicated
Other. Specify

oO OoOU

 

 

 

Priority Creditor’s Name

 

Number Street

 

 

City State ZIP Code

Who incurred the debt? Check one.

() Debtor 1 only

C) Debtor 2 only

(2 Debtor 1 and Debtor 2 only

L) At teast one of the debtors and another

(3 Check if this claim is for a community debt

Is the claim subject to offset?

Q) No
QO) yes

 

Last 4 digits of account number ___
When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

a Contingent
C] Untiquidated
Q Disputed

Type of PRIORITY unsecured claim:

Domestic support obligations
Taxes and certain other debts you owe the government

Claims for death or personal injury while you were
intoxicated

Other. Specify

O Ooo

 

 

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

 

 

 

 

 

 

 

 

page ad of 7
Debtor 1 Fe rekese° Seapr-o7eaycw Doc

iddle Named Last Name /

ia List All of Your NONPRIORITY Unsecured Claims

1 Filed 07/29/19 Page 27 of 59

number (if knows}

 

i 3. Do any creditors have nonpriority unsecured claims against you?
i

Yes

 

4. List all of your nonpriority sence ice claims in the alphabetical order of the creditor who holds each claim. lt 4 creditor has more than one
_ Nonprionty unsecured claim, list the creditor “separately for each claim. For each claim listed, identity what type of claim itis. Do not list claims {
: {ban one creditor holds a parlieuiar al claim, list the other creators in Part 3.lf you have more @ than three nonpriotity unsecured

 

incl lim

     

ation Le oF Part 2.

 

 

bank oc AMERICA

Nonpriority Creditor’s Name

 

 

Who incurred the debt? Check one.
Debtor 1 only

(CY Debtor 2 only

CJ Debtor 1 and Debtor 2 only

CU) At least one of the debtors and another

J Check if this claim Is for a community debt

Is the claim subject to offset?
No
UI ves

LC) No. You have nothing to report in this part. Submit this form to the court with your other schedules.

 

dy =

 

 

Last 4 digits of account number f f

When was the debt incurred? F/ Zose

As of the date you file, the claim is: Check all that apply.

Px. contingent

Q) Unliquidated
Q) Disputed

Type of NONPRIORITY unsecured claim:

() Student loans

QO Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
L] Debts to pension or profit-sharing plai

D>. @ Other. Specify RED MT

, and other similar debts

£Q

 

D AS COVE FLNANCLA <

Nonpriority Creditor’s Name

L.0. Boy IS 3il

 

 

Number Street
Wiminetan DE 1? FS50
City State ZIP Code

Who incurred the debt? Check one.
PEcebtor 1 only

Q) Debtor 2 only

U) Debtor 1 and Debtor 2 only

(J At least one of the debtors and another

() Check if this claim is for a community debt

Is the claim subject to offset?
No
QO) Yes

Last 4 digits of account number_G@ (2 / / __
When was the debt incurred? y

As of the date you file, the claim is: Check all that apply.

ZX Contingent

QO) unliquidated
QO Disputed

Type of NONPRIORITY unsecured claim:

Q) Student loans

Q Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

C) Debts to pension or profit-sharing plans, and other similar debts

BL Other. Specity CRED 17 CALD

$ S702

 

4.3

Ger C8

Nowhriority Creditors Name

0. bow &sS L2G

 

Number Street
WimiNtTaw DE 9950
City State ZIP Code

Who incurred the debt? Check one.
ya Debtor 1 only

C) Debtor 2 only

C) Debtor 1 and Debtor 2 only

CL) At least one of the debtors and another

C) Check if this claim is for a community debt

Is the claim subject to offset?
lo

Last 4 digits of account number Y Za Zz G

When was the debt incurred? /2 / 2009

As of the date you file, the claim is: Check all that apply.

Becontingent

C) Unliquidated
Q Disputed

Type of NONPRIORITY unsecured claim:

CJ Student toans

LJ Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

OQ) Debts to pension or profit-sharing plans, and other similar debts

QC) ves

 

fot Other. Specify

StR

 

 

Official Form 106E/F

 

Schedule E/F: Creditors Who Have Unsecured Claims

page 3 of 4
Debtor 1 12 2 /BREC SE jyv0T Iw Doc 1 Filed 07/29/19 page 28 of 29

First Name Middle Name Last Name

  
    

Your NONPRIORITY Unsecured Claims — Continuation Page

  

number them beginning with 4.4, followed by 4.5, and so forth.

Last 4 digits of account number 2. OQ JO loi

¢ 24, 100
453 —— .

Nonprfority Creditor's Name , g £ SO When was the debt incurred? 4 [ 20 o &

Number C

Oe

reel

Wremivetonw DE

City State ZIP Code ae Contingent
CQ) Unliquidatea

As of the date you file, the claim is: Check all that apply.
“GE S5O

Who incurred the debt? Check one. QO Disputed
bGertor 1 only
C) Debtor 2 only Type of NONPRIORITY unsecured claim:

C) Debtor 1 and Debtor 2 only

L} Student loans
(J At least one of the debtors and another

QO Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

CJ Debts to pension or profit-sharing pians, and other similar debts

Is the claim subject to offset? JaLcther. specity EO}

ML No

CL) Yes

CO) Check if this claim is for a community debt

 

 

 

Jom Ch Last 4 digits of account number 4G f Y 7 $ Je 975
Ds hy / Ss Z g Oo When was the debt incurred? Lf 206 ¢
. = ee

Number Street ~

 

 

WZ t / G g S Oo As of the date you file, the claim is: Check all that apply.
City State ZIP Code Kicontingent

Q) unliquidated
Who incurred the debt? Check one. C) Disputed

Ax debtor 1 only

L) Debtor 2 only Type of NONPRIORITY unsecured claim:
CJ Debtor 1 and Debtor 2 only

|
U Student loans |
C) At least one of the debtors and another |

O Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

| Q) Check if this claim is for a community debt r " “ _
Q) Debts to pension or profit-sharing plans, and other similar debts

 

 

an claim subject to offset? BL otner. Specify ChEOIF- Ae 2D
No
Q) Yes
, TZ
|_| Lz FONAN CAL (Mee Baas é fz} +ast 4 digits of account number 6 7 7 4q $ 726

 

ATT OLN Ey FOL!
Nonpriority Creditor's Name 7

0 7 SS . . . When was the debt incurred? 4zZ f 2 OLS
/ beacens Soond PLibdy FE O2

 

 

Number Street
As of the date you file, the claim is: Check all that apply.
Boca KEATON FL 334F 7
City State ZIP Code OF contingent
Unliquidated

Who incurred the debt? Check one.

fPeptor 1 only
Q) Debtor 2 only Type of NONPRIORITY unsecured claim:
(J Debtor 1 and Debtor 2 only
L At least one of the debtors and another

LJ Disputed

UL) Student loans

Q Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

LY Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? Pother. Specity Tz

fp --

C) ves

LJ Check if this claim is for a community debt

 

 

 

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page 4 of q

 

 
Debtor 4 Yrre Case Shon bk- 07 Be ew Doc 1 Filed 07/29/19... (page 29 of 59

 

 

First Name Middle Nam Last Name JS

Your NONPRIORITY Unsecured Claims — Continuation Page

and so forth.

 

 

, huMber them beginning with 4.4, followed by

 

F

Last 4 digits of account number & oO ft

Syeb [Looms Th ko

 

 

 

Nonpriérity Creditor'siame
. When was the debt incurred? +0 / 200 G

f: 0. Box GCS02G

lumber Street

2 * As of the date you file, the claim is: Check all that apply.

O21 Abo Lz 3259 ¢ ;

City State ZiP Code AL contingent
U Unliquidated
Who incurred the debt? Check one. oO Disputed
Debtor 1 only

CY Debtor 2 only Type of NONPRIORITY unsecured claim:

L) Debtor 1 and Debtor 2 only

(2 Student toans
C) At teast one of the debtors and another

Q Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

U) Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? FA_otner. Specify

Faw

CL) ves

Q) Cheek if this claim is for a community debt

 

 
     

$6,006

 

 

 

Rube FoRTe, oaare)
- MERRILL byNeu (on ATR kNy FOR
lonpriority Creditors Name ; ’ . .
JO Spore co PALO fCsnd When was the debt incurred? <3 / ZolY

Number Street

Last 4 digits of account number ___

 

C, ‘ , As of the date you file, the claim is: Check ali that apply.
fAoLt enw Ss yevtnsA  1930f .
City 7 State ZIP Code & contingent
() unliquidated
Who incurred the debt? Check one. O Disputed
btor 1 only
O) Debtor 2 only Type of NONPRIORITY unsecured claim:

CQ) Debtor 1 and Debtor 2 only

(J Student loans
Q) At least one of the debtors and another

Q Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

QO Check if this claim is for a community debt Y " . _
Q) Debts to pension or profit-sharing plans, and other similar debts

sh 2,674

 

 

 

 

 

Is the claim subject to offset? Bx Other. Specify ‘8. =
BhNo
C) Yes
| Sracey riset, E56 175, ¥ FY
UBS LuV ANCA é AT¥, Loe ws} Last 4 digits of account number YC SS.
Nonpriority Creditor’s Name 4? 2 200-5
When was the debt incurred?
2775 Suny I5« és buy 100.
Number Street
As of the date you file, the claim is: Check all that apply.
i FL 33/66
City State ZIP Code Le—contingent
C) Untiquidated

Who incurred the debt? Check one. oO Disputed

Debtor 1 only
O) Debtor 2 only Type of NONPRIORITY unsecured claim:
CJ Debtor 1 and Debtor 2 only

LJ Student loans
LI At least one of the debtors and another

O Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

Q) Check if this claim is for a community debt
Q Debts to pension or profit-sharing plans, and other similar debts

 

Is the claim subject to offset? PL other. Specify Wht s.
Brio
QO) Yes
Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims

 

page of 4a

 
Debtor 1

First Name

Middle Name

Ge /fegse SLObb-07 A eGwW Doc1. Filed 07/29/19 (age 30 of 59

LastName #7

 

List Others to Be Notified About a Debt That You Already Listed

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

5. Use thls page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): (J Part 1: Creditors with Priority Unsecured Claims
Number Street Q) Part 2: Creditors with Nonpriority Unsecured Claims
Last 4 digits of accountnumber—
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): O) Part 1: Creditors with Priority Unsecured Claims
Number Street Q) Part 2: Creditors with Nonpriority Unsecured
Claims
_ Last4 digits ofaccountnumber
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): O) Part 1: Creditors with Priority Unsecured Claims
Number Street U) Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number ___ Le
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): UO) Part 1: Creditors with Priority Unsecured Claims
Number Street Q) Part 2: Creditors with Nonpriority Unsecured
Claims
- Last4digits ofaccountnumber
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): () Part 1: Creditors with Priority Unsecured Claims
Number Street Q) Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits ofaccountnumber_
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): UO Part 1: Creditors with Priority Unsecured Claims
Number Street U) Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of accountnumber
City State ZIP Code
N On which entry in Part 1 or Part 2 did you list the original creditor?
ame
Line of (Check one): Q) Part 1: Creditors with Priority Unsecured Claims
Numb Street . . _
umeer me QO) Part 2: Creditors with Nonpriority Unsecured
Claims
City State ZIP Code Last 4 digits of accountnumber_

 

 

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

page oO of 4

 
 

Debtor 1 Gar G O58 8: Eins? Bayo Doc 1 Filed O7/2 9/19 wage 31 of 29

First Name Middle Name Last Name

Add the Amounts for Each Type of Unsecured Claim

 

 

 

 

 

 

 

 

 

 

 

 

 

     

 

 

; 6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
; Add the amounts for each type of unsecured claim.
i
co . ti i .
| Total claims 6a. Domestic support obligations 6a. $ C)
my rae L _ 6b. Taxes and certain other debts you owe the
: government 6b. $ ( )
. Claims for death or personal injury while you were
intoxicated 6c. $ O
Le
ee 6d. Other. Add all other priority unsecured claims. O
| Write that amount here. 6d. 46
6e. Total. Add lines 6a through 6d. 6e. O
$
eos
Total claim
| Totet claime ot Student loans e.g 0
E 5 from Per 2 6g. Obligations arising out of a separation agreement
a or divorce that you did not report as priority QO
| a claims 6g. $
. Debts to pension or profit-sharing plans, and other O
| = similar debts 6h. $
C 6i. Other. Add all other nonpriority unsecured claims. Ier-
Write that amount here. Gi. Fg g 0 3 S S 7
6j. Total. Add lines 6f through 6i. Gj. ;
i | 9 i). ¥03,957

 

 

 

 

 

 

 

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page Det 7
 

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Case 8:19-bk-07115-MGW Doc1 Filed 07/29/19 Page 32 of 59

Fill in this information to identify your case:

Debtor Paterce VAN LLA oY

First Namo (fiddle Name Last Néme

Debtor 2
(Spouse If filing) First Name Middie Name Last Name

United States Bankruptcy Court for the: #7 MOLE _ District of Fiéog+bA

 

Case number gant:
(If known) C) Check if this is an

amended filing

 

 

 

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

 

 

1. Do you have any executory contracts or unexpired leases?
jo. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
CJ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
unexpired leases.

    

 

 

Person or company ¥ th whor

Name

-you have the contract or lease State what the contract or lease is for

 

Number Street

 

City State ZIP Code

 

 

Name

 

Number Street

 

City State ZIP Code

 

 

 

Name

 

Number Street

 

City State ZIP Code

 

 

Name

 

Number Street

 

City State ZIP Code

 

2.5)

 

Name

 

Number Street

 

 

City State ZIP Code

 

 

 

 

 

Official Form 106G Schedule G: Executory Contracts and Unexpired Leases page 1 of Zz

 
 

Case 8:19-bk-07115-MGW Doc1 Filed 07/29/19 Page 33 of 59

Debtor 1 Case number (if known)
First Name Middle Name Last Name

| | Additional Page if You Have More Contracts or Leases

     

n of company with whom you have the contract or lease “What the contract or lease Is for

 

 

Name

 

Number Street

 

City State ZIP Code

 

 

Name

 

Number Street

 

City State ZIP Code

 

 

Name

 

Number Street

 

City State ZIP Code

 

 

 

Name

 

Number Street

 

City State ZIP Code

 

 

Name

 

Number Street

 

City State ZIP Code

 

 

 

Name

 

Number Street

 

City State ZIP Code

 

 

 

Name

 

Number Street

 

City State ZIP Code

 

ho

ka

 

Name

 

Number Street

 

 

City State ZIP Code

 

Official Form 106G Schedule G: Executory Contracts and Unexpired Leases

page 2 of 2

 

 
Case 8:19-bk-07115-MGW Doc1 Filed 07/29/19 Page 34 of 59

  

Fill in this information to identify your case:

      

 

 

Debtor 1 fares Cue AN Ben y

First Name Middle Name 7 Last Name
Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: Mm 4O9LE District of la LOLI OR

Case number
(If Known)

 

 

(J Check if this is an
amended filing

 

Official Form 106H
Schedule H: Your Codebtors 12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible tor supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 

 

 

1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
Des No
C) Yes

2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

v No. Go to line 3.
LJ Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

UL) No

CQ) Yes. In which community state or territory did you live? . Fill in the name and current address of that person.

 

Name of your spouse, former spouse, or legal equivalent

 

Number Street

 

City State ZIP Code

3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
Schedule E/F, or Schedule G to fill out Column 2.

  

‘Column 1: Your code 2: The creditor to whom you owe the

     

|
ae : : a a oe Check all schedules that apply: :
3.1

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

(] Schedule D, line
Name
QU) Schedule E/F, line
Number Street (2 Schedule G, line
City State ZIP Code
3.2
CL) Schedule D, line
Name
QO) Schedule E/F, line
Number Street lL) Schedule G, line
City State ZIP Code
3.3
OQ) Schedule D, line
Name
Q) Schedule E/F, line
Number Street LJ Schedule G, line
City State ZIP Code

 

 

 

 

Official Form 106H Schedule H: Your Codebtors page 1 of 2a

 
Case 8:19-bk-07115-MGW Doc1 Filed 07/29/19 Page 35 of 59

Debtor 1 Case number (it known)
First Name Middle Name Last Name

Additional Page to List More Codebtors

    

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Column 2: The creditor to whom y
=] Check all schedules that apply:
3.

Name LC) Schedule D, line
LJ Schedule E/F, line
Number Street Q Schedule G, line
City State ZIP Code
s.|
Name ( Schedule D, tine
Q) Schedule E/F, line
Number Street () Schedule G, line
City State ZIP Code
a
Name OQ) Schedule D, line
C) Schedule E/F, line
Number Street U Schedule G, line
City State ZIP Code
|
Name C) Schedule D, line
QO) Schedule E/F, line
Number Street QO Schedule G, line
City State ZIP Code
B|
Name Q) Schedule D, line
Q] Schedule E/F, line
Number Street () Schedule G, line
City State ZIP Code
|
Name C) Schedule D, line
CQ) Schedule E/F, line
Number Street QO Schedule G, line
City State ZIP Code
|
Name () Schedule D, line
CL) Schedule E/F, line
Number Street () Schedule G, line
City State ZIP Code
Name CL] Schedule D, line
QO) Schedule E/F, line
Number Street C) Schedule G, line
City State Z1P Code

 

 

Official Form 106H Schedule H: Your Codebtors page _Zot Z

 
Case 8:19-bk-07115-MGW Doc1 Filed 07/29/19 Page 36 of 59

Fill in this information to identify your case:

Debtor 1 Faae ‘SK kya BLA Y

First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: M™ Dé é District of Ftokon

Case number Check if this is:

(if known)
C) An amended filing

LJ A supplement showing postpetition chapter 13
income as of the following date:

Official Form 1061 My DDT YY
Schedule I: Your Income 1245

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
lf you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Describe Employment

1. Fill in your employment
information.

 

 

 

 

   

Debtor 2 or nor-filing spouse

 

If you have more than one job,

attach a separate page with
information about additional Employment status L) Employed oi Employed
employers. LL Not employed CI Not employed
Include part-time, seasonal, or .
self-employed work. ; , .
Occupation OEM PL oYED SELF En PLOYED

 

Occupation may include student
or homemaker, if it applies.

Employer’s name

 

Employer’s address lithe FIST Sr a4)

Number Street Number Street

 

 

 

City State ZIP Code City State ZIP Code

How long employed there?

Give Details About Monthly Income

Estimate monthly income as of the date you file this form. if you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines

below. If you need more space, attach a separate sheet to this form.

 

 
 

non-tiling spouse

s_5, lel ~

3. Estimate and list monthly overtime pay. 3. +$ + $ O

2. List monthly gross wages, salary, and commissions (before all payroll
deductions). If not paid monthly, calculate what the monthly wage would be. 2.

 

 

 

4. Calculate gross income. Add line 2 + line 3. 4|¢ O $ ae

 

 

 

 

 

 

 

Official Form 1061 Schedule I: Your Income page 1

 
Debtor 1

Case 8:19-bk-07115-MGW Doc1 Filed 07/29/19 Page 37 of 59

Vora hora & LAY

First Name Middle’Name Last Nap

 

 

Q

 

Copy line 4 Were. cece cc ccccecccceeseesseessvsceecsssssevaseesseassesereevareatevseeeea

Specify:

5. List all payroll deductions:

 

 

 

11. State all other regular contributions to the expenses that you list in Schedule J.

Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
friends or relatives.

Case number (if known)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

5a. Tax, Medicare, and Social Security deductions 5a = §$ 0 $ ©
5b. Mandatory contributions for retirement plans 5b. § O $ 0)
5c. Voluntary contributions for retirement plans 5c. $ 0 $ O
5d. Required repayments of retirement fund loans 5d. $. 0 $ O
5e. Insurance Se. §$ & $ ©
5f. Domestic support obligations of. $ g $ QO
5g. Union dues 5g. $ $ 0
Sh. Other deductions. Specify: 5h. +3 O + $ 0
6. Add the payroll deductions. Add lines 5a + 5b +5c+5d+5e+5f+5g+5h. 6 ¢ © ¢ O
17-00
7. Calculate total monthly take-home pay. Subtract line 6 from line 4. 7. $ 0 $ 5, [Gb °
8. List all other income regularly received:
8a. Net income from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total $ O $ 0)
monthly net income. 8a. 0)
8b. Interest and dividends 8b. ¢§ $ O
8c. Family support payments that you, a non-filing spouse, or a dependent
regularly receive
Include alimony, spousal support, child support, maintenance, divorce $ Q $ ©
settlement, and property settlement. 8c. 0
8d. Unemployment compensation 8d §$ $ 0
8e. Social Security 8e. § O $ O
8f. Other government assistance that you regularly receive
Include cash assistance and the value (if known) of any non-cash assistance
that you receive, such as food stamps (benefits under the Supplemental
Nutrition Assistance Program) or housing subsidies. OQ O
Specify: st S$ $
8g. Pension or retirement income 8g. §$ © $ ©
8h. Other monthly income. Specify: 8h. +$ © +$ ©
9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + Bh. a} O $. Ste pee
10. Calculate monthly income. Add line 7 + line 9. O S line: co 5 5, Lilet oO
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse. 10. $ + $_2, Holy’ ——

 

 

13..Do you expect an increase or decrease within the year after you file this form?

No.

Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

11.# $ 0

12, Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies 12.

5100 20

 

 

Combined
monthly income

 

Yes. Explain:

 

 

 

 

Official Form 1061 Schedule I: Your Income

 

page 2

 
Case 8:19-bk-07115-MGW Doc1 Filed 07/29/19 Page 38 of 59

Fill in this information to identify your case:

Debtor 1 PB A TRI CC Kya! Len Yv

First Name Last Nam Check if this is:

Debtor 2 a
(Spouse, if filing) First Name Middle Name Last Name Q) An amended filing

LJ A supplement showin ostpetition chapter 13
United States Bankruptcy Court for the: A7/MOzE _ District of Foe e a expenses as of the folowing date:

 

Case number
(if known)

 

MM / DD/ YYYY

 

 

Official Form 106J
Schedule J: Your Expenses 1245

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct

information. if more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Describe Your Household

1. Is this a joint case?

AL No. Go to line 2.

L) Yes. Does Debtor 2 live ina separate household?

UL) No
L] Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

 

 

 

 

 

 

 

 

 

 

2. Do you have dependents? UL) No
Dependent’s relationship to Dependent’s Does dependent live |
Do not list Debtor 1 and paves. Fill out this information for Debtor 1 or Debtor 2 age with you?
Debtor 2. each dependent.........0.0.. O
st a tomes N
Do not state the dependents’ DAVGCH 17ER { 3 °
names. OL Yes
CL No
CL] Yes
LJ No
UL) Yes
LI No
LC) Yes
LI No
C) Yes
3. Do your expenses inciude at No

expenses of people other than
yourself and your dependents? Q) Yes

Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankrupicy filing date unless you are using this form as a supplement in a Chapter 13 case to report

expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

 

 

Include expenses paid for with non-cash government assistance if you know the value of

 

 

 

 

such assistance and have included it on Schedule I: Your Income (Official Form 1061.) Your expenses
4. The rental or home ownership expenses for your residence. Include first mortgage payments and $ fe 7 Z 100

any rent for the ground or lot. 4. rr

If not included in line 4:

4a. Real estate taxes 4a §$

4b. Property, homeowner's, or renter’s insurance 4b. $

4c. Home maintenance, repair, and upkeep expenses 4c. $

4d. Homeowner’s association or condominium dues 4d. $

 

 

Official Form 106J Schedule J: Your Expenses page 1

 

 
 

Case 8:19-bk-07115-MGW Doc1 Filed 07/29/19 Page 39 of 59

First Name Middie Nand Last Name

Debtor 1 bara CL Q, AM B z 4 yY

16.

 

17.

19.

20.

 

 

 

 

 

 

Additional mortgage payments for your residence, such as home equity loans 5.
Utilities:

6a. Electricity, heat, natural gas 6a
6b. Water, sewer, garbage collection 6b.
6c. Telephone, cell phone, Internet, satellite, and cable services 6c.
6d. Other. Specify: 6d.
Food and housekeeping supplies 7.
Childcare and children’s education costs 8.
Clothing, laundry, and dry cleaning 9.
Personal care products and services 10.
Medical and dental expenses 11.
Transportation. Include gas, maintenance, bus or train fare.

Do not include car payments. 12.
Entertainment, clubs, recreation, newspapers, magazines, and books 13.
Charitable contributions and religious donations 14.
Insurance.

Do not include insurance deducted from your pay or included in lines 4 or 20.

15a. Life insurance 15a.
15b. Health insurance 15b.
15c. Vehicle insurance 15c.
15d. Other insurance. Specify: 15d.
Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.

Specify: 16.
Installment or lease payments:

17a. Car payments for Vehicle 1 17a.
17b. Car payments for Vehicle 2 17b.
17c. Other. Specify: 17c.
17d. Other. Specify: 17d.
Your payments of alimony, maintenance, and support that you did not report as deducted from

your pay on line 5, Schedule I, Your Income (Official Form 106}). 18.
Other payments you make to support others who do not live with you.

Specify: 19.
Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

20a. Mortgages on other property 20a.
20b. Real estate taxes 20b.
20c. Property, homeowner’s, or renter’s insurance 20c.
20d. Maintenance, repair, and upkeep expenses 20d.
20e. Homeowner's association or condominium dues 20e.

Case number (if known).

 

Your expenses
¢ YW >
¢ 400 -
g {90 -
$
$
s 100 —
$ ®
sO
¢ O
¢ 0
3 ©
o
oO
g_250 —
3 oO
$ O
$ 0
g Oo
$ oO
¢ O
¢$ Oo
s oO
5 O
3 O
5 Oo
s O
5 O
5 0
s 0

 

 

Official Form 106J Schedule J: Your Expenses

page 2

 
 

Case 8:19-bk-07115-MGW Doc1 Filed 07/29/19 Page 40 of 59

Debtor 1 Thi Ltad Case number (i known)

First Name Middle Yéme Last Nane/

 

 

21. Other. Specify:

 

22. Calculate your monthly expenses.

22a. Add lines 4 through 21.

22b, Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2

22c. Add line 22a and 22b. The result is your monthly expenses.

23. Calculate your monthly net income.

23a. Copy line 12 (your combined monthly income) from Schedule |.

23b. Copy your monthly expenses from line 22c above.

23c. Subtract your monthly expenses from your monthly income.
The result is your monthly net income.

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

For example, do you expect to finish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a moditication to the terms of your mortgage?

pkvo

21.

22a.

22b.

22¢.

23a.

23b.

23c.

 

 

 

 

 

-$ C49 1°

 

 

364% °°

 

 

 

Cl Yes. | Explain here:

 

 

 

 

 

 

Official Form 106J Schedule J: Your Expenses

 

page 3
Case 8:19-bk-07115-MGW Doc1 Filed 07/29/19 Page 41 of 59

Fill in this information to identify your case:

Debtor 1 fi ATRICK. heypal (tr 7A

First Name Middle Name Last Nare®
Debtor 2
(Spouse, if filing) First Name Middio Name Last Name

United States Bankruptcy Court for the: Mibbe 2 _ District of fFigk Pe 7

Case number
(If known)

 

 

 

CJ Check if this is an
amended filing

 

Official Form 106Dec
Declaration About an Individual Debtor’s Schedules 12/15

If two married people are filing together, both are equally responsible for supplying correct information.

 

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or

obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

| Below

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

Ono

C) Yes. Name of person. . Attach Bankruptcy Petition Preparer’s Notice, Declaration, and

Signature (Official Form 119).

Under penalty of perjury, | declare that | have read the summary and schedules filed with this declaration and
that they are true and correct.

iG Bees x

Signature of Gebtor 1 Signature of Debtor 2

 

Date
MM/ DD / YYYY

 

 

 

 

Official Form 106Dec Declaration About an Individual Debtor’s Schedules

 
Case 8:19-bk-07115-MGW Doc1 Filed 07/29/19 Page 42 of 59

Fill in this information to identify your case:

vevtor1 Arete Ryan LLaY

First Name Middle Name Last@lame

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: MLE - District of FtoklaA

Case number eae
(if known) (J Check if this is an

amended filing

 

 

 

 

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy 04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

jeart 1: Details About Your Marital Status and Where You Lived Before

 

1. What is your current marital status?

bX Married

LJ Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

IXNo

L) Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

- Debtor 1: _ Dates Debtor 1 _Debtor 2:

lived there

 

 

 

i) Same as Debtor 1 LJ same as Debtor 1
007 foveanew BND rom 208 From
Number Street Number Street
To fResEeNT To

 

 

RennestroN FL 34209

 

 

 

 

 

 

 

 

City State ZIP Code City State ZIP Code
CL) same as Debtor 1 LL} Same as Debtor 1
From From
Number Street Number Street
To To
City State ZIP Code City State ZIP Code

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

No
LJ Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 

 

 

 

BERS exer the Sources of Your Income

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 1
 

Case 8:19-bk-07115-MGW Doc1 Filed 07/29/19 Page 43 of 59

Gre, CL Kanal Bea

Last Name 7

Debtor 1

First Name Middle Name *

Case number (i known),

 

Pao

L) Yes. Fill in the details.

Sources of income oe
_ Check all thal apply.

Gross income _

(belore deductions an

 

Check all that apply.

Sources of income

4. Did you have any Income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

  
    

 

(before deductions and

 

 

YYYY

| vexclusions) | > exclusions)
From January 1 of current year until = ages, commissions, $ rd) U ages, commissions, $
the date you filed for bankruptcy: Onuses, IPS onuses, tip
] Operating a business QQ Operating a business
For last calendar year: QO Wages, commissions, O ) Wages, commissions,
bonuses, tips $ bonuses, tips $
(January 1 to December 31, Zoi" » L) Operating a business L} Operating a business
For the calendar year before that: a) bones tee UW ones pe
(January 1 to December 31, Loi? _) L) Operating a business $ 2) Operating a business $

 

5. Did you receive any other income during this year or the two previous calendar years?
include income regardless of whether that income is taxable. Examples of other income are alimony; child support: Social Security,
unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

 

 

 

No
CJ Yes. Fill in the details.

From January 1 of current year until
the date you filed for bankruptcy:

List each source and the gross income from each source separately. Do not include income that you listed in line 4.

Sources of income
Describe below.

 

 
 

Gross income trom

  
  

  

e

 

For last calendar year:

 

 

(January 1 to December 31, )
YYYY

 

 

 

For the calendar year before that:

 

(January 1 to December 31, )

 

YYYY

 

 

 

 

Official Form 107

Statement of Financial Affairs for Individuals Filing for Bankruptcy

page 2

 
Case 8:19-bk-07115-MGW Doc1 Filed 07/29/19 Page 44 of 59

Debtor 1 Paves Cie Kant Lea f Case number (if known)

First Name Middle Narfe Last Name J

 

List Certain Payments You Made Before You Filed for Bankruptcy

 

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
LJ No. Nelther Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
“incurred by an individual primarily for a personal, family, or household purpose.”
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

L} No. Go to line 7.

LJ Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the
total amount you paid that creditor. Do not include payments for domestic support obligations, such as
child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

* Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

We Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

ry No. Go to line 7.

LI} Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
creditor. Do not include payments for domestic support obligations, such as child support and
alimony. Also, do not include payments to an attorney for this bankruptcy case.

‘Dates of

“Total ame
a yment 5

paid Amount you still ow

   
 

this payment for...

    

 

 

 

- $ $ QQ Mortgage
Creditors Name
(3 car
Number Street QQ Credit card

U) Loan repayment

 

QQ Suppliers or vendors

 

 

 

 

 

 

 

 

 

 

City State ZIP Code L} other
$ $ C3 Mortgage
Creditor's Name
LI) car
Number Street CI) Credit card
C) Loan repayment
CL} Suppliers or vendors
City State ZIP Code QC) other
$ $ ) Mortgage
Creditor’s Name
Q) Car

 

Number Street C) credit card

i”) Loan repayment

 

Q Suppliers or vendors

) Other

 

City State ZIP Code

 

 

 

Official Form 107 Statement of Financial Affairs for Individuats Filing for Bankruptcy page 3
Case 8:19-bk-07115-MGW Doc1 Filed 07/29/19 Page 45 of 59

Debtor 1 tn Ric we Kraul LRA y Case number (it known)

First Name Middle Narne Last Name VA

 

 

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations
such as child support and alimony.

PL no

L) Yes. List all payments to an insider.

  

Dates Total amount Amount you still Reason for this payment
payment —_ paid oe

 

 

 

 

 

  

 

$ $
Insider's Name
Number Street
City State ZIP Code

$ $

 

Insider's Name

 

Number Street

 

 

City State ZIP Code

 

 

 

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
an insider?

Include payments on debts guaranteed or cosigned by an insider.

RI No

L) Yes. List all payments that benefited an insider.

       

 

 

 

 

 

 

Date < Total amount : ie nount you still Reason forthis payment —__ ce
payment ‘owe
—— $ $
Insider's Name
Number Street
City State ZIP Code
$ $

 

Insider's Name

 

Number Street

 

 

 

 

 

 

City State ZIP Code

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 4

 
Case 8:19-bk-07115-MGW Doc1 Filed 07/29/19 Page 46 of 59

 

Debtor 1 A Tht CE Dial heavy
First Name Middle he Last Nam
ree ae Identify Legal Actions, Repossessions, and Foreclosures

Case number (if known).

 

and contract disputes.

L] No
pa Yes. Fill in the details.

Case title Sher, Ric Se Ay

V, ban oF Ameen
Case number &- £57 CV 2532.

 

ANT1~ThOST

“Court oF agency

Court Name

Number Street

TamPhr Fl

Milne Lister OF hae
¥61 N. Feoeing AVE

L302

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,

Status of the case

Pending

BX on appeal

Q Concluded

 

Case title Cf BAK Vv.

Park EFA
Case number Z ols > CA - WISO

 

Neeronéce Fo

 

City

 

 

Check all that apply and fill in the details below.

Wi no. Go to line 11.
(J Yes. Fill in the information below.

 

Creditor’s Name

 

 

 

 

 

 

 

 

Number Street

City State ZIP Code
Creditor’s Name

Number Street

City State ZIP Code

Property was repossessed.

Property was foreclosed.
Property was garnished.

: ibe the je Property

Property was repossessed.
Property was foreclosed.
Property was garnished.

Property was attached, seized, or levied.

Property was attached, seized, or levied.

State

 

ZIP Code

LenbtNtow FL SY das

City State ZIP Code
: /Zé Supicome CREDIT 2 pending
‘ourt Name
> On appeal
OSs Ww *&
Number Street QL} Concluded

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?

: Value of the property

 

   

 

 

Official Form 107

Statement of Financial Affairs for Individuals Filing for Bankruptcy

page 5

 

 
Case 8:19-bk-07115-MGW Doc1 Filed 07/29/19 Page 47 of 59

Debtor 1 Vrence Con Leay Case number (if known)
First Name

Middle Néne LastName J

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?
No
CJ Yes. Fill in the details.

  

Date action Amount

_ Describe the action the creditor took
oo Wastaken __

 

 

Creditor's Name

 

Number Street

 

 

 

City State ZIP Code Last 4 digits of account number: XXXX—___

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
creditors, a court-appointed receiver, a custodian, or another official?

No
UL} Yes

List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

ALNo

Q) Yes. Fill in the details for each gift.

 
 
 

Gifts with a tot
__perperson

 

Person to Whom You Gave the Gift

 

 

Number Street

 

City State ZIP Code

Person’s relationship to you

 

  

Gifts with a total vatue of mo

Dates yougave _—-Value
per person. ‘ es val

_ the gifts

   

 

Person to Whom You Gave the Gitt

 

 

Number Street

 

City State ZIP Code

Person’s relationship to you

 

 

 

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 6

 

 
 

Case 8:19-bk-07115-MGW Doc1 Filed 07/29/19 Page 48 of 59

Debtor 1 Oeael c kao b, LAY S Case number (if known)

First Name Middle Nam LastName 7

14, Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

Jvc

C) Yes. Fill in the details for each gift or contribution.

 

Date you Value
contributed

   
 

Describe what you contributed

   

 

Charity’s Name

 

 

Number Street

 

 

 

City State ZIP Code

Ea List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
disaster, or gambling?

PEL No

L} Yes. Fill in the details.

 

 

Describe the property you lost a
nh

_Descri @ any insurance coverage for
the loss occurred .

 
 
 

  
 
 
 

Dateofyour _—_—Value of property
loss lost : ee

    

it that | insurance has paid. List pending insurance
claims on line 38 o Schedule A/B: ae

 

 

 

 

List Certain Payments or Transfers

 

 

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behaif pay or transfer any property to anyone
you consulted about seeking bankruptcy or preparing a bankruptcy petition?
Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

PANo

C) Yes. Fill in the details.

   

 

 

 

 

 

 

transter was
Person Who Was Paid made. |.
Number — Street $
$
City State ZIP Code

 

Email or website address

 

Person Who Made the Payment, if Not You

 

 

 

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 7

 

 
 

Case 8:19-bk-07115-MGW Doc1 Filed 07/29/19 Page 49 of 59

Debtor 1 Pres Che ‘ onal bth VY Case number (i known)

First Name Middle Name 7 Last Name -

 

 

 
 
 

ate payment oF a
Wanster was made payment

 

 

Person Who Was Paid

 

Number Street

 

 

City State ZIP Code

 

Email or website address

 

Person Who Made the Payment, if Not You

 

 

 

17. Within 1 year before you fited for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

EX No

LJ Yes. Fill in the details.

   

Date payment or
transfer |
_ made

  

 

Person Who Was Paid

 

 

Number Street

 

 

City State ZIP Code

 

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?
Inciude both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
fino include gifts and transfers that you have already listed on this statement.
No

CJ Yes. Fill in the details.

"Description and value of property Descri
 Wransterred | or de

ly property or payn
In exchange

     

 

 

Person Who Received Transfer

 

Number Street

 

 

City State ZIP Code

 

Person’s relationship to you

 

 

Person Who Received Transfer

 

Number Street

 

 

 

 

 

City State ZIP Code

 

Person’s relationship to you

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 8

 
 

Case 8:19-bk-07115-MGW Doc1 Filed 07/29/19 Page 50 of 59

  

Debtor 1 Case number (if known)

    

First Name Last Name

  

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
are a beneficlary? (These are often called asset-protection devices.)

BEno

3 Yes. Fill in the details.

Date transfer
‘was made.

  

Description and value of the property transferre

 

 

Name of trust

—

 

 

 

 

List Certain Financlal Accounts, Instruments, Safe Deposit Boxes, and Storage Units

 

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
closed, sold, moved, or transferred?
Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
brokerage houses, pension funds, cooperatives, associations, and other financial institutions.

FBLNo
Ql Yes. Fill in the details.

      

 

 

 

 

 

 

 

4 digits of account number | Typeofaccountor Date accountwas _Last balance before
instrument === closed, sold, + , _ closing or transfer
_ or transferred :
Name of Financiai Institution
XXXX-__ CI checking $
Number Street QO Savings
QO Money market
QO Brokerage
City State ZIP Code oO Other
XXXX—_ CI checking $
Name of Financial Institution
QO Savings
Number Street QO Money market

QO Brokerage

 

C2 other

 

City State ZIP Code

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
ecurities, cash, or other valuables?
Evo
C2 Yes. Fill in the details.

 

 

 

 

 

 

 

 

 

 

Describe the contents ee - Do you still
— have it?
—_ : ~ |

QC) No

Name of Financial Institution Name QO ves
Number Street Number Street i
i
City State ZIP Code |

City State ZIP Code

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 9

 
Case 8:19-bk-07115-MGW Doc1 Filed 07/29/19 Page 51 of 59

Debtor 1 Dereta VAAL ber. Y Case number (it known)

First Name Middle Nae LastName 77

22.Haye you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
No
Q) Yes. Fill in the details.

 
      

 

 

 

 

 

 

 

Who else has or had acces Describe the contents’ Do you still
oe oe ce _ have it?
| | QINo
Name of Storage Facility Name O ves
Number Street Number Street |
City State ZIP Code
City State ZIP Code | i
Part 9: identify Property You Hold or Control for Someone Else
23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
or hold in trust for someone.
No
Q) Yes. Fill in the details.
Where is the property? Describe the property Value

   

 

Owner’s Name

 

Number Street
Number Street

 

 

 

 

 

 

City State ZIP Code |
City State ZIP Code |

aoe Glve Detalls About Environmental Information

For the purpose of Part 10, the following definitions apply:

 

™ Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
including statutes or regulations controlling the cleanup of these substances, wastes, or material.

= Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
utillze it or used to own, operate, or utilize it, Including disposal sites.

Hazardous material means anything an environmental faw defines as a hazardous waste, hazardous substance, toxic
substance, hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.
24,Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

IICNo
C2 Yes. Fill in the details.

   

emmental unit

 

 

 

 

 

 

 

Name of site Governmentai unit
Number Street Number Street

City State ZIP Code
City State ZIP Code

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 10

 

 

 
Case 8:19-bk-07115-MGW Doc1 Filed 07/29/19 Page 52 of 59

  
   

Debtor 1 Case number (if known)

First Name

25.Have you notified any governmental unit of any release of hazardous material?

BLNo

CQ) Yes. Fill in the details. a . .
Governmental unit : law, ifyou know it Date of notice

 

 

 

 

 

 

 

Name of site Governmental unit
Number Street Number Street

City State ZIP Code
City State ZIP Code

 

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

Po

CI Yes. Fill in the details.

   

 

 

 

 

 

Court or agency _ Nature of the case os sof ihe
Case title i
Court Name O Pending
QO on appeal
Number Street OQ) concluded
Case number City State ZIP Code

 

part 11: | Glve Details About Your Business or Connections to Any Business

 

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
QC) Asole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
REa member of a limited tiability company (LLC) or limited liability partnership (LLP)
CJ A partner in a partnership
OQ an officer, director, or managing executive of a corporation

CQ) An owner of at least 5% of the voting or equity securities of a corporation

C2 No. None of the above applies. Go to Part 12.
Q) Yes. Check ail that apply above and fill in the details below for each business.

Ye 6B LLC. _ Describe the nature of the bus ness

Business Name JHE eee :

— Holos wy PEeT
Whe WT SR Mew vos A feoreery

Number Street

 

 

   

 

"Name of accountant orbookkeeper Date: isted _
VD 1G Kl) *ABE7H Ray From ZOsl to PeEsSENT
City State ZIP Code

  

 

 

_ Employer identification number
Do not include Social Security number or ITIN.

 

Business Name

 

  

 

EIN;
Number Street : cee 2

Dates business existed

From _ séSTTC?.

 

City State ZIP Code

 

 

 

 

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 11

 
Case 2,2. Doc1 Filed 07/29/19 Page 53 of 59

Debtor 1 f Ay Vl Cans Case number (if known)
First Name Middle Nar Last Seay

Employer Identification number

 

 

 
    

 

    
 
 

 

Business Name

 

  
 

Number Street

 

Dates business existed

 

From To

 

City State ZIP Code

 

 

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
institutions, creditors, or other parties.

SANo

L) Yes. Fill in the details below.

 

 

Name MM/DD/YYYY

 

Number Street

 

 

Clty State ZIP Code

I have read the answers on this Statement of Financial Affairs and any attachments, and i declare under penalty of perjury that the
answers are true and correct. | understand that making a false statement, concealing property, or obtaining money or property by fraud
in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

18 U.S.C. §§ 152, 1341, 1519, and 3571.

   

. E pad x

Signature of Bebtor 1 Signature of Debtor 2

Date

 

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
No

C) Yes. Name of person . Attach the Bankruptcy Petition Preparer’s Notice,
Declaration, and Signature (Official Form 119).

 

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 12

 
Case 8:19-bk-07115-MGW Doc1 Filed 07/29/19 Page 54 of 59

Fill in this information to identify your case:

 

Debtor 1 baz RIC Kyau beAny
First Name iddie Name Lat Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: MiDDIE District of Lue 4

Case number LJ Check if this is an
(If known) amended filing

 

 

 

 

Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7 ims

 

If you are an individual filing under chapter 7, you must fill out this form if:

™ creditors have claims secured by your property, or

™ you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.

If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
Both debtors must sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known).

List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
information below.

    
 

 

What do you intend todo with the property that Did you slate the propery :

 

tos hed el oper hat is cient

 

 

Secures a debt? __ a8 exempt on Schedule C?
Creditor’s (2 Surrender the property. LI No
name: Soue OF O2zAL ES J
etain the property and redeem it. PR

Description of the OMNESTEAD Pa hina ky C) Retain the property and enter into a

ropert
propery Reaffirmation Agreement.

securing debt: KES (OENCE
B4.Retain the property and [explain]:

 

 

 

 

 

Creditor’s CJ Surrender the property. QC) No
name: yVN OVE S &. &

5) VA 4a Ag Retain the property and redeem it. Akyes
oepetty of Hi Eloc OW Ah OMESTEAD CJ Retain the property and enter into a
securing debt: Pe M<thk y KE SIDENCE Reaffirmation Agreement.

C) Retain the property and [explain]:

Creditor’s (J Surrender the property. fENo
name: Me. CooPER . rine property

 

= ° & Retain the property and redeem it. L) Yes
Description of SECONOREY P ROP. eer 2 Retain the property and enter into a

ropert
securing debt: Reaffirmation Agreement.

LJ Retain the property and [explain]:

 

 

 

Creditor's (C] Surrender the property. UO No
a . Q) Retain the property and redeem it. CQ) Yes
rope ° QO Retain the property and enter into a

securing debt: Reaffirmation Agreement.

LJ) Retain the property and [explain]:

 

 

 

 

Official Form 108 Statement of Intention for Individuals Filing Under Chapter 7 page 1

 

 
Case 8:19-bk-07115-MGW Doci1 Filed 07/29/19 Page 55 of 59
Debtor 1 Ati LIC Kyat’ ee, Case number (if known)

First Name Middle Narfe Last Name 7

List Your Unexpired Personal Property Leases

     

 

 

 

 

 

 

 

 

 

 

 

 

 

 

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).
_ Describe your une pire personal property leases I the lease be assumed?
Lessor’s name: C3 No
Oy
Description of leased °s
property:
Lessor’s name: UI No
Oly
Description of leased es
property:
Lessor’s name: LI No
Description of leased QO) Yes
property:
Lessor's name: LI No
Q) Yes
Description of leased
property:
Lessor’s name: CL No
UO Yes
Description of leased
property:
Lessor’s name: UO) No
L) Yes
Description of leased
property:
Lessor’s name: LJ No
L) Yes
Description of leased
property:

 

 

 

Under penalty of perjury, | declare that | have indicated my intention about any property of my estate that secures a debt and any
personal property that is subject to an unexpired lease.

AM, Base ,

Signature of Deffor 1 A Signature of Debtor 2

Date 7 29 ZO/ Date
MM/ DD YYYY MM/ DD/ YYYY

Official Form 108 Statement of Intention for Individuals Filing Under Chapter 7 page 2

 
 

Case 8:19-bk-07115-MGW Doc1 Filed 07/29/19 Page 56 of 59

Fill in this information to identify your case:

  
     

Check one box only as directed in this form and in

 

 

 

 

“ &. Form 122A-1Supp:
Debtor 1 ATL ICL he yA AAS
First Name Miiddie Name ‘st Name i @ Th | ti fab
. There is no presumption of abuse.
Debtor 2 ; P
(Spouse, if filing) First Name Middle Name Last Namo C) 2. The calculation to determine if a presumption of
abuse applies will be made under Chapter 7
United States Bankruptcy Court for the: AW AMOLE _ District of FLOLI OA Means Toot Calculation (Official Form 122A-2)
Case number Cl] 3. The Means Test does not apply now because of
{tt known) qualified military service but it could apply later.

 

Q) Check if this is an amended filing

Official Form 122A—1
Chapter 7 Statement of Your Current Monthly Income 12/115

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 

 

Calculate Your Current Monthly Income

 

1. What ts your marital and filing status? Check one only.
LJ Not married. Fill out Column A, lines 2-11.
C) Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
ares and your spouse is NOT filing with you. You and your spouse are:
C Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.

Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
under penaity of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
Spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).

  
  
   

at you received from all ‘sources, derived during the 6 full months before you file this —
a ©. § 101 (410A). For example, if you are filing on Voie 15, — 6-month period would be March 1 through |
9 \ugust 31. If the amount of your monthly inco forall6 months and divide the totalby6. |

   
 
 
  
 

 

 

income ai uses Own the same rental property, put the ee |
column only. it you have: nothing to report for any ine, write SO in the space. oe |
Column A Columa B
(Bebtort Debtor 2 or
a ee non-filing spouse
2. Your gross wages, salary, tips, bonuses, overtime, and commissions ye
(before all payroll deductions). s O $_2, Lee
3. Alimony and maintenance payments. Do not include payments from a spouse if $ O $ oO

Column B is filled in.

4. All amounts from any source which are regularly paid for household expenses
of you or your dependents, including child support. Include regular contributions
from an unmarried partner, members of your household, your dependents, parents,
and roommates. Include regular contributions from a spouse only if Column B is not $ 0

OL

 

filed in. Do not include payments you listed on line 3. $
5. vet ancome from operating a business, profession, Debt ort Debtor 2

Gross receipts (before all deductions) $_Y § O

Ordinary and necessary operating expenses -$ 0 -$ 0

Net monthly income from a business, profession, or farm $ O $ QO voPy $ O $ 0
6. Net income from rental and other real property “Denton Debtor 2

Gross receipts (before all deductions) $ $_ OQ

Ordinary and necessary operating expenses -$ oO - $ 0

5 0 my 5 O

Net monthly income from rental or other real property $ 0 here $
7. Interest, dividends, and royalties O $

wn A
Ce

 

 

 

Official Form 122A-1 Chapter 7 Statement of Your Current Monthly Income page 1

 

 
Case 8:19-bk-07115-MGW Doc1 Filed 07/29/19 Page 57 of 59

Debtor 1 Care, Ck Co) Ler. / Case number (if known)

 

 

 

First Name Middle Nanfe Last Name JS
Column A Column B
Debtor 1 Debtor 2 or :
non-filing spouse
8. Unemployment compensation ¢ O $ ©

Do not enter the amount if you contend that the amount received was a benefit
under the Social Security Act. Instead, list it here: oo...

FOP YOU ssc cecceecsescceenestesceneetesesacensaesseaceseeseanseeeseancarcetsnes $ ©
FOr YOUF SPOUSE... cesses cccscseeeeeesretesseeesneetesenceseeeessenes $ O
9. Pension or retirement income. Do not include any amount received that was a oO 6
benefit under the Social Security Act. $ $

10. Income from all other sources not listed above. Specify the source and amount.
Do not include any benefits received under the Social Security Act or payments received
as a victim of a war crime, a crime against humanity, or international or domestic
terrorism. If necessary, list other sources on a separate page and put the total below.

 

 

 

11. Calculate your total current monthly income. Add lines 2 through 10 for each
column. Then add the total for Column A to the total for Column B. $

s_ O
Total amounts from separate pages, if any. +$ 0) +$

 

 

 

 

 

+) 5 Site ¢ 5, Ibe

 

 

Totai current
monthly income

Determine Whether the Means Test Applies to You

 

12. Calculate your current monthly income for the year. Follow these steps:

 

 

12a. Copy your total current monthly income from liN€ 11. ooo eee cscs cess esseesvesscseveseesressessessaceenssssestessesssees Copy line 11 heres» $ 2S z 1G&

 

 

Multiply by 12 (the number of months in a year). x 12

12b. The result is your annual income for this part of the form. 12b.} $_4

13. Calculate the median family income that applies to you. Follow these steps:

 

 

 

 

 

 

 

 

Fill in the state in which you live. Fle LiDhA
Fill in the number of people in your household. 2
Se
Fill in the median family income for your state and size Of MOUSENOIG. ooo... ccceccececssssssesssssscerecsseresesevessstssstesenssentateesesevecseseane 13. g_& 6 i 3 72

 

 

 

To find a list of applicable median income amounts, go online using the link specified in the separate
instructions for this form. This list may also be available at the bankruptcy clerk's office.

14, How do the lines compare?

14a. Dt Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
Go to Part 3.

14b. L) Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
Go to Part 3 and fill out Form 122A-2.

Sign Below

By signing here, | declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

xv, Deny x

Signature of Bebtor 1 Signature of Debtor 2

Date yy 24) Loi a Date
MNMi/ DD "/YYYY MM/ DD /YYYY

If you checked line 14a, do NOT fill out or file Form 122A-2.
If you checked line 14b, fill out Form 122A—2 and file it with this form.

 

 

 

Official Form 122A-1 Chapter 7 Statement of Your Current Monthly Income page 2

 

 
Case 8:19-bk-07115-MGW Doc1 Filed 07/29/19 Page 58 of 59

Mailing Matrix
Secured Creditors:

Bank of the Ozarks
601 West Commercial Street
Ozark, AR 72949

Synovus Bank
111 Bay Avenue
Columbus, GA 31901

Mr. Cooper
8950 Cypress Waters Avenue
Coppell, TX 75019

Unsecured Creditors:

Bank of America
P.O. Box 982238
El Paso, TX 79998

Discover Financial
P.O. Box 15316
Wilmington, DE 19850

JPMCB
P.O. Box 15298
Wilmington, DE 19850

LPL Financial

C/O Neil Baritz

1075 Broken Sound Pkwy #102
Boca Raton, FL 33489

SYNCB
P.O. Box 965036
Orlando, FL 32896

Merrill Lynch

C/O Rubin Fortunato
10 South Leopard Road
Paoli, PA 19301

 

 
Case 8:19-bk-07115-MGW Doc1 Filed 07/29/19 Page 59 of 59

UBS Financial

C/O Stacey Fisher, Esq.
2775 Sunny Isles Blvd #100
Miami, FL 33160

 
